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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                       :         CASE NO: 20-72977-PWB
                                             :
REGINALD JAMES BARTHOLOMEW,                  :         CHAPTER 13
     Debtor                                  :
                                             :
                                             :
                                             :

RUSHMORE LOAN MANAGEMENT      :
SERVICES LLC                  :
     Movant                   :
v.                            :
                              :
                              :
REGINALD JAMES BARTHOLOMEW,   :     CONTESTED MATTER
      Debtor                  :
K. SAFIR SAFIR,               :
      Trustee                 :
                              :
      Respondents.            :
                              :
                       NOTICE OF HEARING

       PLEASE TAKE NOTICE that Rushmore Loan Management Services LLC has filed
a Motion for Relief from Stay and related papers with the Court seeking an order for Relief
from Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: (toll-free number: 833-568-
8864; access code 161 794 3084 at 10:15 am on 01/18/2023 in the Courtroom 1401, in the
Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all
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as determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,
U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta GA 30303.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.

 Dated:   December 22, 2022              SIGNATURE        /s/ Ryan Starks
                                                          Ryan Starks, GA Bar No. 676512
                                                          Travis Menk, GA Bar No. 632610
                                                          Attorney for Creditor
                                                          BROCK & SCOTT, PLLC
                                                          8757 Red Oak Boulevard, Suite 150
                                                          Charlotte, NC 28217
                                                          Telephone: (844) 856-6646
                                                          Facsimile: (704) 369-0760
                                                          E-Mail: GABKR@brockandscott.com
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                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 IN RE:
                                                        CASE NO. 20-72977-PWB
 REGINALD JAMES BARTHOLOMEW
                                                        CHAPTER 13
                         DEBTOR



                                 CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Motion For Relief
From The Automatic Stay using the Bankruptcy Court’s Electronic Case Filing program, which
sends a notice of this document and an accompanying link to this document to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

             CHRISTOPHER CAROUTHERS                              K. EDWARD SAFIR
          CHRIS CAROUTHERS & ASSOCIATES                   STANDING CHAPTER 13 TRUSTEE
                     SUITE 131                                       SUITE 1600
            2250 NORTH DRUID HILLS RD.                    285 PEACHTREE CENTER AVE. NE
                 ATLANTA, GA 30329                              ATLANTA, GA 30303

        I further certify that on this day I caused a copy of this document to be served via United
States first class mail, with adequate postage prepaid, on the following parties set forth below at
the address shown for each:

           REGINALD JAMES BARTHOLOMEW
                1803 TREERIDGE PKWY
                ALPHARETTA, GA 30022

Dated: December 22, 2022
                                               /s/Ryan Starks
                                               Ryan Starks, GA Bar No. 676512
                                               Travis Menk, GA Bar No. 632610
                                               Attorney for Creditor
                                               BROCK & SCOTT, PLLC
                                               8757 Red Oak Boulevard, Suite 150
                                               Charlotte, NC 28217
                                               Telephone: (844) 856-6646
                                               Facsimile: (704) 369-0760
                                               E-Mail: GABKR@brockandscott.com
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :         CASE NO: 20-72977-pwb
                                              :
REGINALD JAMES BARTHOLOMEW,                   :         CHAPTER 13
     Debtor                                   :
                                              :         JUDGE BONAPFEL
                                              :
                                              :

RUSHMORE LOAN MANAGEMENT                      :
SERVICES LLC                                  :
     Movant                                   :
v.                                            :
                                              :
                                              :
REGINALD JAMES BARTHOLOMEW,                   :         CONTESTED MATTER
      Debtor                                  :
K. SAFIR SAFIR,                               :
      Trustee                                 :
                                              :
         Respondents.                         :
                                              :

                   MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Rushmore Loan Management Services LLC (hereinafter “Movant”), a
secured creditor in the above-captioned case, by and through counsel, Brock & Scott, PLLC, and
moves this Court to enter an order granting its request for relief from the automatic stay imposed
by 11 U.S.C. § 362(a):


         1.    On December 26, 2020, the Debtor, Reginald James Bartholomew, filed a petition
with the Bankruptcy Court for the Northern District of Georgia under Chapter 13 of Title 11 of the
United States Code.
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       2.      Carroll Bartholomew and Dorothy L. Bartholomew hold title to the real property
(hereinafter “Property”) described in that Security Deed recorded in the Escambia County Clerk
of Superior Court in Book 6466 at Page 1801 and recorded on June 2, 2009 (hereinafter “Security
Deed”) with an address of 800 Maple Woods Cir Pensacola, Florida 32534 aka 888 Maple Woods
Cir, Pensacola, Florida 32534. Carroll Bartholomew died on September 8, 2018, and Dorothy L.
Bartholomew died on December 4, 2019. A copy of the Mortgage is attached hereto and is
incorporated herein as Exhibit “A”.


       3.      Movant holds a Promissory Note secured by the Security Deed from the Debtor in
the original principal amount of $107,600.00 and dated May 28, 2009 (hereinafter “Note”). A
copy of the Note is attached hereto and incorporated herein as Exhibit “B”.


       4.      The terms of the Note were amended by the attached loan modification agreement
entered into effective December 1, 2009. A copy of the loan modification is attached hereto and
incorporated herein as Exhibit “C”.

       5.      Carroll Bartholomew died on September 8, 2018, and Dorothy L. Bartholomew
died on December 4, 2019. Upon information and belief, the Debtor is an heir to Carroll and
Dorothy Bartholomew and has an interest in the Property. As they died prior to the Debtor’s
bankruptcy being filed the Property is property of the debtor’s bankruptcy estate.


       6.      Upon information and belief, the current value of the Collateral is $204,791.00. A
copy of the Escambia County Property Appraiser is attached herein as Exhibit “D”.


       7.      Upon information and belief, the approximate payoff, exclusive of legal fees and
expenses incurred in connection with the instant motion, due and owing to Movant as of November
17, 2022 is $114,962.95.


       8.      In addition to the other amounts due to Movant reflected in this Motion, as of the
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date hereof, in connection with seeking the relief requested in this Motion, Movant has also

incurred $1,050.00 in legal fees and $188.00 in costs. Movant reserves all rights to seek an award

or allowance of such fees and expenses in accordance with applicable loan documents and

related agreements, the Bankruptcy Code and otherwise applicable law.



       9.        The mortgage payments are in default. Upon information and belief, the amount
of default, exclusive of fees and costs, is as follows:

                   23     Payments @                        $760.36          $17,488.28
                          (01/01/2021 – 11/01/2022)
                                                        Suspense Balance       ($0.00)
                                                       Total Delinquency     $17,488.28

       10.       Cause exists for relief from the automatic stay as payments are not being made to
Movant.

       11.       If the Debtor is experiencing a hardship such as job loss, income reduction, or
sickness due to COVID-19 and is no longer able to make mortgage payment, Debtor’s counsel
may    contact    the   undersigned    counsel    or    contact   the   mortgage   servicer   directly
(www.rushmorelm.com) to discuss what mortgage payment relief options may be available to the
Debtor. Options may include a temporary suspension of payments or similar alternative. Not all
borrowers will qualify or be eligible for these options, but the servicer encourages the Debtor to
call and determine what the servicer can offer to assist the Debtor.


       WHEREFORE, Movant prays the Court as follows:


       1.        Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
security interest in the Collateral including but not limited to any non-bankruptcy remedies to
foreclose and obtain possession.
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        2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay.
        3.      As an alternative to the relief prayed for above, grant adequate protection to Movant
for its interest in the Collateral.
        4.      That Creditor be entitled to recover its reasonable fees and expenses incurred in
connection with seeking the relief requested in this Motion.
        5.      Movant specifically requests permission to communicate with the Debtor and
Debtor’s counsel to the extent necessary to comply with applicable non-bankruptcy law; and
        6.      Grant Movant such other and further relief as the Court deems just and proper.

Dated: December 22, 2022

                                               /s/Ryan Starks
                                               Ryan Starks, GA Bar No. 676512
                                               Travis Menk, GA Bar No. 632610
                                               Attorney for Creditor
                                               BROCK & SCOTT, PLLC
                                               8757 Red Oak Boulevard, Suite 150
                                               Charlotte, NC 28217
                                               Telephone: (844) 856-6646
                                               Facsimile: (704) 369-0760
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